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EXHIBIT V

Case 1:09-Cv-00597-LI\/|B-TCB Document 41-23

Roth, Me|issa R.

From: Dickinson, Nliche||e J_
Sent: Friday. October 16, 2009 5:36 PN|
To: Candess Hunter
Cc: Roth, N|e|issa R.
Subject: Loomis
Attachments: Document_pdf

;,;.
Docwnentpdf(329

KB)

COunSel:

See attached correspondence.
Michelle

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DLA plpER 6225 Smith Avenue
Baitimore Maryiand 21209-3600
www.diapiper.com

Micheile J. Dickinson
micheiie.dici<inson@dlapiper_com
T 410.580.4137

F 410.580.3137

October 16, 2009
i/m U.S. MAlL

isabel iVl. i-iumphrey. Esquire
Candess J. l~iunter, Esqulre
Randy Vavitz, Esquire

Hunter, i~lumphrey & ‘ravitz` PLC`
2633 E. indian Schoo| Road, #440
Phoenix,Arizona 85016

Re: intersections Inc. and Net Enforcers, inc. v. Joseph C. and Jenni M. Loomis

Dear Candess:

The suggestion in your emaii that we have violated the law Or Sornehow acted unethica|ly is nothing short
of silly. indeed it was Joe Loomis who kept NEi property after he was terminatedl not the other way
aroundl Since your colleague emailed me on September ‘lO, 2009 that Joe Loomis believed he had
erroneously kept NEl's Sony Vaio laptop and returned his own after he was terminated almost a year ago.
we have worked to determine the truth of the assertion, preserve any company data on the |aptop, and
effectuate a cost-effective exchange of the laptops while avoiding any data destruction issues

Specificaliy,

o By small dated September 16, 2009. we requested that you provide documentation supporting
Joe t_oomis’ claiml as well as a description of the laptop in his possessionl including the model
and seriai number1 so that we could look into the issue

o After investigating Joe Loomis' contention we advised by letter dated Septernber 25` 2009 that
we had determined that Joe Loomis had in fact kept the wrong iaptop and proposed an exchange
of the computers We advised that we would remove and preserve a copy of ali data on the
iaptop in NEi's possession before exchanging the laptops in case it is needed for this litigation

» On October 2. 2009. we advised by email that we would be paying a consultant to facilitate the
exchange of the laptop computers in order to avoid unnecessary additional expenses we
advised that we would have the consultant image the computer tower and the other computers in
Joe‘s possession custody or control pursuant to intersections discovery requests during that
visit

- On October 5, 2009. we advised that we would be able "within the next week or so” to exchange
the laptop computers after the company data was removedl We indicated that we would do so.
however, only under circumstances that would protect our clients from potential claims from
l_oomis that our ciients destroyed data or damaged either computerl i~'urtherl we indicated that
we would do so under circumstances such that a qualified computer technician may testify that
the computer Loornis provides was not damaged after the exchange and before any forensic
analysis can be performed We again requested that you provide i_oornis' computers for imaging
by the consultant we send to exchange the laptops to save the parties time and resourcesl

~ By emaii the same dayl you confirmed your understanding that our consultant would be removing
company data from the laptop and indicated that if our consultant could give you sufficient notice
for Joe Loomis to arrange to get the computer tower out of storage and over to your office prior to
his visit to pick up NEl's laptopl he could image the hard drives on the computer tower

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DLA PlPER `

isabel M. i-iumphreyl Esquire
Randy Yavitz, Esquire
October 16, 2009

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~ On October 14, 2009, we advised by emai| that our computer consultant had determined that
there is no company data on the |aptop and that we are prepared to make the computer
exchange We asked that you advise when .Joe l_oomis could get the tower out of storage for

imaging so that we could set it up

As you are awarel we have never indicated or even suggested that we would keep the laptop computer
any longer than necessary to determine its rightful owner and remove and preserve company data Thus.
we have not violated any law or ethical rule. Our computer consultant witt be at your omces lvlonday to
deliver the laptop and to image the computer tower. l presume this takes care of this latest diversionary
tactic and that we can get back to litigating this case.

Very truly you rs,

lvlichelle J. Dickinson
MJD:vsc

cc: Thomas Ni. Dunlap, Esquire

EAST\AXXXXXXXX

